Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 1 of 14-PagelID #:1 A

FILED

UNITED STATES DISTRICT COURT +o - 5 a 3
FOR THE NORTHERN DISTRICT OF ILLINOIS. =). OO. 4% FOO.
EASTERN DIVISION _ POSS!

CLERK, U.S. DISTRICT COURT

Wanda Harold n/k/a

 

Amanda MacGregor

 

CIVIL ACTION

 

)
)
)
(Name of the plaintiff or plaintiffs) )
y. n_ 1:10-cv-00107

ge Marvin E. Aspen

adi .

gistrate Judge Michae} T. Mason

)

)

)

)

De Paul University

 

 

 

(Name of the defendant or defendants)

COMPLAINT OF EMPLOYMENT DISCRIMINATION

]. This is an action for employment discrimination.
Wanda Harold n/k/a Amanda MacGregor

 

 

 

 

2. The plaintiff is of the
county of Cook inthe stateof_ __11linois

3. Thedefendantis De Paul University , whose
streetaddressis 990 W. Fullerton Avenue ,

(city) Chicago (county) Cook (state) IL (ZIP) 60614

 

 

(Defendant’s telephone number) (773) 325-7000

 

4. The plaintiff sought employment or was employed by the defendant at (street address)

990 W. Fullerton Avenue (city) Chicago

60614

 

Cook IL
(county) (state) (ZIP code)

 
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5. The plaintiff [check one box]
cayl_] was denied employment by the defendant.

wL_] was hired and is still employed by the defendant.

Ls] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,
(month) April , (day) 10 . (year) 2006 .

7.1 (Choose paragraph 7.1 or 7.2, do not complete both.)

{a) The defendant is not a federal governmental agency, and the plaintiff [check

ane box] [J has no filed a charge or charges against the defendant
*|has
asserting the acts of discrimination indicated in this complaint with any of the following

govemment agencies:

(i) [J the United States Equal Employment Opportunity Commission, on or about

(month)? (day, t* year) 29°, and 11/14/06; 9/1/08

(ii) [| the lilincis Department of Human Rights, on or about

(month) (day) (year)

(b) If charges were filed with an agency indicated above, a copy of the charge is

attached. L4 ves. [_] No, but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Ilinois
Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.

72 The defendant is a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Empicyment Discrimination with the

defendant asserting the acts of discrimination indicated in this court complaint.

 

 
Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 3 of 14 PagelD #:3

LI Yes (month) (day) (year)
LJ No, did not file Complaint of Employment Discrimination

(b) The plaintiff received a Final Agency Decision on (month)

(day) (year)
(c) Attached is a copy of the

(i) Complaint of Employment Discrimination,

LC] YES C] NO, but a copy will be filed within 14 days.
(11) Final Agency Decision

CJ YES CJ NO, but a copy will be filed within 14 days.

(Complete paragraph 8 only if defendant is not a federal governmental agency.)

(a) [| the United States Equal Employment Opportunity Commission has not issued
a Notice of Right to Sue.

(LJ the United States Equal Employment Opportunity Commission has issued a

Notice of Right to Sue, which was received by the plaintiff on

October (day) 16 (year) 2009 a copy of which

Notice is attached to this complaint.

(month)

The defendant discriminated against the plaintiff because of the plaintiff's [check only
those that apply):

cayL_] Age (Age Discrimination Employment Act).

(b)L_] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

 
Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 4 of 14 PagelD #:4

@L] Disability (Americans with Disabilities Act or Rehabilitation Act)

@L] National Origin (Title VU of the Civil Rights Act of 1964 and 42 U.S.C. $1981).
© L=] Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

col] Religion (Title VII of the Civil Rights Act of 1964)

(g)LB]} Sex (Title VII of the Civil Rights Act of 1964)

10. If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color,
or national origin (42 U.S.C. § 1983).

11. —_ Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII
claims by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f}(3); for
42 U.S.C.§1981 and §1983 by 42 U.S.C.$1988; for the A.D.E.A. by 42 U.S.C.§12117;
for the Rehabilitation Act, 29 U.S.C. § 791.

12. The defendant [check only those that apply]

@L] failed to hire the plaintiff.
(b) terminated the plaintiff's employment.

(c)L_] failed to promote the plaintiff.

a failed to reasonably accommodate the plaintiff's religion.
| failed to reasonably accommodate the plaintiff's disabilities.
OL] failed to stop harassment;

(Ls retaliated against the plaintiff because the plaintiff did something to assert
tights protected by the laws identified in paragraphs 9 and 10 above;

cn) Ls other (specify); failed to provide comparable private office

 

space, funding to attend conferences, teaching/tresearch assistants

 

as received by male/non-White colleagues.

 
Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 5 of 14 PagelD #:5

The defendant succeeded in assigning me unreasonable and

 

outrageous tasks not required of my male/non-White colleagues.

 

Paid me less than amount stated in my contract, Subjected me

 

to a hostile work environment.
13. The facts supporting the plaintiffs claim of discrimination are as follows:

Please see attachment,

 

 

 

 

 

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff.

13. The plaintiff demands that the case be tried by a jury. J YES Lj NO

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
(check only those that apply]

()L_] Direct the defendant to hire the plaintiff

{| Direct the defendant to re-employ the plaintiff.

oL] Direct the defendant to promote the plaintiff.

@L_| Direct the defendant to reasonably accommodate the plaintiff's religion.

eL_] Direct the defendant to reasonably accommodate the plaintiffs disabilities.

ol Direct the defendant to (specify); Positive, letter of recommendation

 

Update my photo collection with my new legal name and return to title

 

 
Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 6 of 14 PagelD #:6

Use of De Paul Career Center

 

Ability to take classes through De Paul Instructional

 

Technology Development (ITD) Department free of charge

 

 

(g) If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable
attorney fees and expert witness fees.

cny Lx] Grant such other relief as the Court may find appropriate.

(Plaintiff's signature)

Snake Ve (Gregor
v

 

(Plaintiff's name)

Amanda MacGregor

 

(Plaintiff’s street address)
1008 Crain St. #3B

 

Evanston, IL 60202

 

(City)Evanston (State) IL (Zip) 60202

 

(Plaintiff's telephone number) (247) 424-1437

 

January 4 » 2010

Date:

 

 
Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 7 of 14 PagelD #:7

COMPLAINT
Wanda Harold n/k/a Amanda MacGregor v. De Paul University

13. I was hired by the Defendant in September of 1995 as an instructor in the Department of
Sociology. Over the course of my appointment there, my work was beyond reproach; I received
consistently favorable evaluations from my students, was on time for my classes and did not
cancel classes. I had no write-ups or disciplinary problems. I got along well with students, staff,
and faculty.

i was subjected to different terms and conditions of my employment because of my race-White
and sex-female. The Defendant denied me private office space, denied me financial
compensation to attend professional conferences, did not provide teaching and/or research
assistants while the White, Asian, African, and Native-American males in the Sociology
Department under the same contract as I, were provided these benefits. This has resulted in a
loss of recognition and potential career advancement and opportunities. During the Defendant’s
alliance with Barat College in Lake Forest, 1 was singled out to make the lengthy commute to
teach there while my White, Asian, African, and Native-American male colleagues were not.
Talso discovered the University paying me less than the amount stipulated in my contracts.

Despite my excellent evaluations from students, I was demoted by being given fewer and fewer
upper level sociology courses to teach, and then almost exclusively non-sociology, general
studies courses.

The female department chair subjected me to a hostile work environment by making sarcastic
comments about my professional clothes and overall appearance. On not one occasion did I
receive a performance evaluation from her or any comments whatsoever about my work—only
about my appearance. My attempts to discuss my concerns with the Department chair resulted in
gales of laughter from her or threats to not renew my contract.

I filed a charge with the EEOC in September, 2006. In November, 2006 the Defendant removed
my name from the title of a collection of over 200 photographs I took and that are housed in the
University’s Richardson library. I believe I have been retaliated against because I filed a charge
with the EEOC, -

In 2002 I was invited to join the Sociology faculty full time on an annual contract. I was not
informed either verbaliy or in writing at that time that this was a fixed-term appointment of 6
years. On March 5, 2008 I was informed of my discharge effective June 30, 2008. Two of my
male colleagues fulfilled their 6" year of employment and were not discharged. I believe I have
been discriminated against on the basis of my sex-female, and retaliated against for filing charges
with the EEOC.

 

 
Case: 1:10-cv-00107 Document #: 1 Filed: 01/07/10 Page 8 of 14 PagelID #:8

CHICAGO DISTRICT OFFICE
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
500 WEST MADISON STREET, SUITE 2000
CHICAGO, ILLINOIS 60561 .

OFFICIAL BUSINESS

 

 

 

SP EET. Saar

 

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EVANSTON IL 60202-1246

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eeocFom 161208) Case: 1:10-cv- HOG Ha CMe et Elec OlOL10 Page 9 of 14 PagelID#:9 |
DISMISSAL AND NOTICE OF RIGHTS 2

To: Amanda R. MacGregor _ From: Chicago District Office
(formerly known as Wanda Harold) 500 West Madison St
619 W. Stratford Place, Apt. 405 Suite 2000

Chicago, IL 60657 Chicago, IL 60661

CERTIFIED MAIL 7000 0600 0022 1007 8810

 

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR $1601. 7(a})
EEOC Charge No. EEOC: Representative Telephone No.

Amy Burkholder,
440-2008-08059 Investigator (312) 353-8906

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

 

‘Your allegations did not involve-a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes: -

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

KH OUOOU

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UO

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, and/or the Age Discrimination in Employment Act: This-will.be the only
notice of dismissal and of your right to sue that we will send you. You may file a lawsuit against the respondent(s) under
federal law based on this charge in federal or state ‘court. Yourlawsuit must be filed. WITHIN 90 DAYS of your receipt
of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a state claim may
be different.) we So te - See

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations} of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

Non Phau — “Yaa loe

Enclosures(s) John P. Rowe, (Date Mailed)
District Director

ce: DEPAUL UNIVERSITY

 

 
EEOC Fem (500) Case: 1:10-cv- ooko7 Document #: 1 Filed: 01/07/10 pdge “10 of 14 PagelD #:10

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ ] FEPA

Statement and other information before completing this form.
‘ [x] EEoc

 

440-2006-09461

 

IHlinois Department Of Human Rights and EEOC
State or local Agency, if any

 

 

Name (indicate Mr, Ms., Mrs.) : . Home Phone (inc! Area Code} Date of Birth
Ms. Wanda J. Harold (773) 929-6513 05-10-1953

 

 

 

Street Address City, State and ZIP Code
619 W. Stratford Place #405, Chicago, IL 60657

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That ! Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

| Name No. Employees, Members Phone No. (laciude Area Code)
DEPAUL UNIVERSITY 500 or More (773) 325-7000 |
Street Address City, State and ZIP Code
990 W. Fullerton, Chicago, IL 60614
Name No. Empioyees, Members Phone No. (include Area Code)
Street Address. City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box(es),) DATE(S) DISGRIMINATION TOOK PLACE

Earliest Latest

[x] RACE ["] COLOR [x] SEX [ J RELIGION [] NATIONAL ORIGIN 01-01-2003 . 09-12-2006
[x] RETALIATION [| AGE [| DISABILITY [| OTHER (Specify below.) .

 

[x] CONTINUING ACTION

 

THE PARTICULARS ARE (ff additional paper is needed, attach extra sheets):

i was hired by Respondent in or about September 1995, as an Instructor. Since January 2003, | have been
subjected to different terms and conditions of employment because of my race, White and sex, female. The
Respondent denied me a private office for over two years, new computer equipment, the opportunity to teach
Sociology graduate courses, and paid me less than agreed upon during contract negotiations. The Respondent
has subjected me to harassment by making derogatory comments about my clothes and overall appearance. 1
‘have complained to Respondent to no avail. Instead | am threatened with not having next year’s contract
renewed.

| believe that | have been discriminated against because of my race, White; sex ferme
for opposing discrimination, in violation of Title VII of the Civil Rights Actiof it Sia

   

SEP 1 2 “UU8
CHIGAGO Lis RIG? OFC

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for Stafe and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that | have read the above charge and that it is true to

 

 

t declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
sept 412, 2006 blacks . (month, day, yeart

Charging Party Signature

 

 

 
scooram eran 25@: 1:10-CV-OF 10 7eRGRH BED Sibel Sb RMOGMIA BaRinisbiahl4 PagelD #:11

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Amanda R. MacGregor From: Chicago District Office
(formerly known as Wanda Harold) 500 West Madison St
619 W. Stratford Place, Apt. 405 , Suite 2000
Chicago, IL 60657 Chicago, IL 60661

CERTIFIED MAIL 7000 0600 0022 1008 2497

 

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEO Charge No. EEOC Representative Telephone No.
Amy. Burkholder,
440-2006-09461 Investigator (312) 353-8906

 

THE EEOC IS CLOSING ITS FILE ON THIS GHARGE FOR THE FOLLOWING REASON:
The facts alleged | in the fe charge f fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disabity as’ + defined by the Americans With Disabilities Act. Bs
The e Respondent employs less than the requited number of empioyeiss otis not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge. -

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Oo a OC

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, and/or the Age Discrimination In Employment Act: This will be the only
notice of dismissal and of your right to sue that we will send you. You may file a lawsuit against the respondent(s) under
federal law based on this charge in federal. or state: court.’ Your lawsuit must be filed WITHIN 90 DAYS of your receipt
of this notice; or your right to sue based on this charge will be lost. (The | time limit for filing suit based on a state claim may.
be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Mnf Keine,  4/24]og

_Enclosures(s) John P. Rowe, {Date Mailed)
District Director

ce: DEPAUL UNIVERSITY

 
 

EEOC Form '5 (5/01)

 

CHARGE De Disem NINATION @ 2 Pled: OF Oatge PradGnrad 1a. 14 Pagunlpiasy Charge No(s:
‘This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ ] FEPA
Statement and other information before completing this form.

 

 

 

 

 

 

 

‘ [x] EEoc 440-2007-01392
Minois Department Of Human Rights and EEOC
State or local Agency. if any
Name (indicate Mr., Ms., Mrs.) Home Phone (incl Area Code) Date of Birth
Ms. Wanda J. Harold . (773) 929-6513 05-10-1958
Street Address : City, State and ZiP Code

619 W. Stratford Place #405, Chicago, IL 60657

 

Named Is the Employer, Labor Crganization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

Name No. Employees, Mambers Phone No. (inctude Area Code)

 

 

 

 

 

 

DEPAUL UNIVERSITY 500 or More (773) 325-7820
Street Address : City, State and ZIP Code

990 W. Fullerton Ave, Chicago, IL 60614

Name No, Employees, Members Phone No. (include Area Code)
Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).} , DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest

|] RACE [ COLOR [ ] SEX [| RELIGION [| NATIONAL ORIGIN 41-02-2006 11-02-2006
[x] RETALIATION [| AGE ["] DISABILITY [| OTHER (Specify batow.)

[| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, aitach extra sheet/s)): :
On September 12, 2006, | filed an EEOC Charge (No. 440-2006-09461). After filing my EEOC Charge, on
November 2, 2006, Respondent removed my name as headliner of my collection of photographs. This has
resulted in loss of prestige and recognition for any potential career advancement and opportunities.

i believe that | have been retaliated against because | filed an EEOC charge, in violation of Title VI! of the Civil
Rights Act of 1964, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that | have read the above charge and that it is true to

 

 

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Nov 28, 2006 hd IVE Ath (month, day, year

Date Charaph Party Signature

 

 

 

 

 
 

EEOC Form 161 @MPaQse: 1:10-cv-OULS7EQUAL BMPLOY MENTO PRORTUNIDYEQMMISSION 4 PagelD #:13
DISMISSAL AND NOTICE OF RIGHTS

 

To: Amanda R. MacGregor From: Ghicago District Office
(formerly known as Wanda Harold) 500 West Madison St
619 W. Stratford Place, Apt. 405 Suite 2000
Chicago, IL 60657 Chicago, IL 60661

CERTIFIED MAIL 7000 0600 0022 1007 8803

LI

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CER §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
Amy Burkholder,
440-2007-01392 Investigator (312) 353-8906

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

te

oo @ nen

 

Your atlegations: did not involve. a disability as ‘defined iby. the Americans V With’ Disabilities Ach

wet

   

_ The Respondent employs less than-the required 1 number of employees or is not otherwise covered’ by the waite 8

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state}

- NOTICE OF SUIT RIGHTS - |
{See the additional information aitached to this form.)

Title VH, the Americans with Disabilities Act, and/or the Age Discrimination in Employment Act: This will be the only
notice of dismissal and of your: right to'sue that we will send you. You may file a lawsuit against the respondent(s) under
federal law based on this charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt
of this notice;:or-your right-to sue based on this’ charge willbe lost. {The time limit for filing suit based on a state claim may
be different, )

Equai Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

Other BPs 9/4 dog

Enclasures(s) John P. Rowe, (Date Matied)
District Director

oc: DEPAUL UNIVERSITY

 

 
EEOC Form 5 (5/01)

 

 

Gase <n goid? F Desusseni tia Filed 01/9 1 Eiled: 7/10 Bags 14 of 14 PagelD #:14
-, HARGE OF Disc RIMINATION Charge Pres&tited To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
Statement and other information before completing this form.

 

 

 

 

 

 

 

EEOC 440-2008-08059
and EEOC
State or local Agency, if any
Name (indicate Mr, Ms., Mrs.) Home Phone (inel. Area Code} Date of Birth
Amanda R. MacGregor (773) 929-6513 05-10-1958

Street Address

619 W. Stratford Place, Apt. 405, Chicago, IL 60657

City, State and ZIP Code

 

Named is the Employer, Labor Organization, Emptoyment Agency, Apprenticeshig Committes, or State or Local Government Agency That ! Believe
Discriminated Against Me or Others. (iF more than iwo, list under PARTICULARS below.) .

 

Name

 

 

 

No, Employees, Members Phone No. (lnclude Area Code)
DEPAUL UNIVERSITY 500 or More (773) 325-7820
Street Address City, State and ZIP Code

990 West Fullerton Avenue, Chicago, IL 60614

 

Name

No, Employees, Mambers Phone No. (include Area Coda)

 

 

 

Streat Address

City, State and ZIP Code

 

DISCRIMINATION BASED ON (Check appropriate Sox(es).}

[J mce [7] coon  [X] sex
AGE -

RETALIATION DISABILITY

[ _] Reucion [7] mations oncn

[ ] OTHER (Specify below.)

DATE(S) DISCRIMINATION TOOK PLAGE
Earliest ~ Latest

03-05-2008 03-05-2008

[ ] CONTINUING ACTION

 

 

THE PARTICULARS ARE (If additional paper is needed, allach extra sheet(s))-

I. | was hired by the above-named Respondent on or about September 1995, as a Lecturer. In 2006, |
filed two EEOC Charges (440-2006-09461 & 440-2007-01 392). On March 5, 2008, | was informed

of my discharge effective June 30, 2008.

MI. | believe that | have been discriminated against on the basis of my sex, female, and retaliated
against for engaging in a protected activity, in violation of Title VII of the Civil Rights Act of 1964, as

amended.

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1 want this charge filed with both the EEOC and the State or local Agency, any. 1
will advise the agencies if | change my address or phone humber and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

NOTARY ~ When necessary for Stata and Local Agency Requirements

 

 

| declare under penalty of perjury that the above is true and correct.

4/249-203 Arnoke MacMresonr

Charging Party Signature ?

 

| swear of affirm that | have read the above charge and that it is true to
the best of my knowledge, information and belief.

SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
{month, day, year)

 

 
